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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,                      Case No. 1:22-cv-00329-BLW

      Plaintiff,                               MOTION TO EXPEDITE
                                               CONSIDERATION OF IDAHO
v.                                             LEGISLATURE’S MOTION TO
                                               INTERVENE
THE STATE OF IDAHO,

      Defendant.



      The Speaker of the Idaho House of Representatives Scott Bedke, Idaho Senate

President Pro Tempore Chuck Winder, and the Sixty-Sixth Idaho Legislature (collectively

the “Legislature”) respectfully move this Court, pursuant to District Local Rule Civ. 6.1,


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Federal Rule of Civil Procedure 6(c)(1)(C) to expedite consideration of the Legislature’s

motion for leave to intervene in this civil action as intervenors-defendants to defend Idaho

Code § 18-622 [Dkt. 15]. The purpose of this request to expedite consideration is to permit

the Legislature, as intervenors, to participate in the motion practice currently before this

Court related to the United States’ Motion for Preliminary Injunction due August 8, 2022

(referred to as “Plaintiff’s Motion”). Pursuant to this Court’s orders (see August 8, 2022

Orders [Dkts. 13 and 14]), briefing related to Plaintiff’s Motion is due August 19, 2022,

with argument scheduled for August 22, 2022.

                                      DISCUSSION

       The Legislature makes its motion pursuant to District Local Rule Civ. 6.1, Federal

Rule of Civil Procedure 6(c)(1)(C), and 28 U.S.C. 1657, that collectively allows for

expedited consideration of a motion to intervene for “good cause.” See Malam v. Adducci,

No. 20-10829, 2020 WL 12739428, at *1 (E.D. Mich. Apr. 3, 2020) (“The Court has the

authority to expedite consideration of [Movants’ motion to intervene] pursuant to Federal

Rule of Civil Procedure 6(c)(1)(c) and 28 U.S.C. 1657….Movants have demonstrated good

cause….[that] render necessary expedited consideration of this motion to intervene.”)

Good cause exists given the expedited nature of the proceedings before this Court. Here,

where this Court has already set a briefing schedule and argument schedule related to the

Plaintiff’s Motion and where this Court has indicated a desire to rule on that motion on or

before August 25, 2022, the effective date of the Idaho Code § 18-622 (referred to in the

Legislature’s briefing as “the 622 Statute”)—good cause exists for expedited consideration


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of the Legislature’s request to participate as an intervenor. As set forth more fully in the

Legislature’s Memorandum in Support of Motion to Intervene (Dkt. 15-1), because the

Legislature is willing and able to meet all filing deadlines now and hereafter in effect,

consideration and/or ruling on this motion for expedited consideration related to

participation will not delay or alter the existing scheduling order related to currently

ordered briefing and/or argument.

       Thus, where “good cause” exists with no impact on the current scheduling order,

the Legislature respectfully requests this Court to expedite consideration of its motion

requesting leave to participate in the above-captioned matter as an intervenor.

Dated this 8th day of August, 2022.

                                          MORRIS BOWER & HAWS PLLC


                                          By:   /s/ Daniel W. Bower
                                                 Daniel W. Bower


                                           /s/ Monte Neil Stewart
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of August, 2022, I electronically filed the foregoing
with the Clerk of the Court via the CM/ECF system, which caused the following parties or counsel
to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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